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 1                                                           The Honorable Richard A. Jones
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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,                      NO. CR19-0035-RAJ
 8
                        Plaintiff,                   ORDER GRANTING
 9                                                   DEFENDANT’S MOTION
              v.                                     TO SEAL IN PART
10
      NICHOLAS STARTZMAN,
11
                         Defendant.
12

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           This matter comes before the Court on Defendant Nicholas Startzman’s Motion to
14
     Seal Compassionate Release Motion and Exhibits.
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           The Court has reviewed the motion and records in this case and finds good cause
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     has been shown to permit the filing under seal of Exhibits 2a and 2b (Defendant’s medical
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     records) due to the sensitive information contained therein. Court staff has communicated
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     with counsel for Defendant, who represented there was no objection to the sealing of
19   Exhibits 2a and 2b only.
20         IT IS HEREBY ORDERED that Defendant’s Motion to Seal (Dkt. #326) is
21   GRANTED IN PART. Exhibits 2a and 2b to Defendant’s Motion for Compassionate
22   Release shall remain under seal.
23         DATED this 21st day of October, 2020.
24

25
                                                    A
                                                    The Honorable Richard A. Jones
                                                    United States District Judge
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     ORDER GRANTING MOTION TO SEAL IN PART - 1
     UNITED STATES v. STARTZMAN
     CR19-35RAJ
